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 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Andrey Kim
 4
 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                              )
     UNITED STATES OF AMERICA,                  )   Case No.: 2:11-cr-0514-GEB
 9
                                                )
10                Plaintiff,                    )   STIPULATION AND [PROPOSED]
                                                )   ORDER FOR CONTINUANCE OF
11                                                  STATUS CONFERENCE
           vs.                                  )
12                                              )
     AHMED CHARTAEV,                            )
13   KHADZHIMURAD BABATOV,                      )
14   NICHOLAS VOTAW,                            )
     STANISLAV SARBER,                          )
15   HAKOB SERGOYAN,                            )
16   ROMAN MALAKHOV,                            )
     MAGOMED ABDUKHALIKOV,                      )
17   SERGEY SHCHIRSKIY, and                     )
18   ANDREY KIM,                                )
                                                )
19                Defendants.                   )
20                                              )
                                                )
21
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
22
     Status Conference scheduled for March 16, 2012, at 9:00 a.m. is continued to May 18,
23
     2012, at 9:00 a.m. in the same courtroom. R. Steven Lapham, Assistant United States
24
     Attorney, Thomas A. Johnson, attorney for Andrey Kim, Kresta Daly, attorney for
25
     Ahmed Chartaev, John Duree, attorney for Khadzhimurad Babatov, Chris Cosca, attorney
26
     for Roman Malakhov, Danny Brace, attorney for Sergey Shschirskiy, Preeti Bajwa,
27
     attorney for Magomed Abdukhalikov, David Fischer, attorney for Nicholas Votaw, Alan
28
     Eisner, attorney forHakob Sergoyan, and Peter Kmeto, attorney for Stanislav Sarber, are

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 1   requesting such continuance in order to continue review of discovery and for preparation
 2   of counsel. All parties stipulate and agree that the ends of justice are served by this
 3   continuance outweigh the best interest of the public and Defendants in a speedy trial
 4   pursuant to 18 U.S.C. § 3161(h)(7)(A).
 5          It is further stipulated that the period from the date of this stipulation through and
 6   including May 18, 2012, be excluded in computing the time within which trial must
 7   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii), 18
 8   U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable time for preparation of
 9   counsel). The ends of justice served by the continuance outweigh the best interest in the
10   public and the Defendants in a speedy trial.
11
12   IT IS SO STIPULATED.
13
     DATED: March 14, 2012                             By:     /s/ Thomas A. Johnson_
14                                                             THOMAS A. JOHNSON
                                                               Attorney for Defendant
15                                                             ANDREY KIM
16
     DATED: March 14, 2012                             By:     /s/ Thomas A. Johnson for
17                                                             Kresta Daly
                                                               Attorney for Defendant
18                                                             Ahmed Chartaev
19   DATED: March 14, 2012                             By:     /s/ Thomas A. Johnson for
                                                               John Duree
20                                                             Attorney for Defendant
                                                               Khadzhimurad Babatov
21
     DATED: March 14, 2012                             By:     /s/ Thomas A. Johnson for
22                                                             Chris Cosca
                                                               Attorney for Defendant
23                                                             Roman Malakhov
24   DATED: March 14, 2012                             By:     /s/ Thomas A. Johnson for
                                                               Danny Brace
25                                                             Attorney for Defendant
                                                               Sergey Shchirskiy
26
     DATED: March 14, 2012                             By:     /s/ Thomas A. Johnson for
27                                                             Preeti Bajwa
                                                               Attorney for Defendant
28                                                             Maogmed Abdukhalikov

                                                                                                     2
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     DATED: March 14, 2012                                   By:    /s/ Thomas A. Johnson for
 1                                                                  David Fischer
                                                                    Attorney for Defendant
 2                                                                  Nicholas Votaw
 3   DATED: March 14, 2012                                   By:    /s/ Thomas A. Johnson for _____
                                                                    Alan Eisner
 4                                                                  Attorney for Defendant
                                                                    Hakob Sergoyan
 5
     DATED: March 14, 2012                                   By:    /s/ Thomas A. Johnson for
 6                                                                  Peter Kmeto
                                                                    Attorney for Defendant
 7                                                                  Stanislav Sarber
 8
     DATED: March 14, 2012                                          BENJAMIN WAGNER
 9                                                                  United States Attorney
10                                                            By:   /s/ Thomas A. Johnson for
                                                                    R. STEVEN LAPHAM
11                                                                  Assistant U.S. Attorney
12
13
                                                      ORDER
14
     IT IS SO ORDERED.
15
     Date: 3/14/2012
16
17                                                           _________________________
                                                             GARLAND E. BURRELL, JR.
18                                                           United States District Judge
19
20   DEAC_Sig nature-END:




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